    Case:18-10077-SDB Doc#:33 Filed:05/18/18 Entered:05/18/18 17:03:33                             Page:1 of 2


     IT IS ORDERED as set forth below:




     Date: May 15, 2018


___________________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                                       18-10077
     In the matter of:                                )       Chapter 13 Case No. ______________
                                                      )
     MARGARET W. ALLEN
                                                      )
                                                      )
                                                      )
                                      Debtor(s)

                                         ORDER ON CONFIRMATION


            After a hearing to consider confirmation of the plan in the above-styled Chapter 13 case it is
     hereby determined that confirmation is:

             ‫܆‬    Denied and the case is dismissed.

                 ‫ ܆‬Without prejudice;
                 ‫ ܆‬With prejudice against refiling for 180 days;
                 ‫ ܆‬Unless Debtor(s) counsel converts to a case under Chapter 7 within fourteen (14) days.

             ‫ ܆‬Granted upon condition that:

                 ‫ ܆‬Debtor pay $ ___________________ by ___________________________________;

                 ‫ ܆‬Debtor pay $_______________per _______________ until ____________________;
Case:18-10077-SDB Doc#:33 Filed:05/18/18 Entered:05/18/18 17:03:33                                 Page:2 of 2


                                                                                               18-10077
                                                                      Chapter 13 Case No. ______________
                                                                                                  Page 2



          ‫ ܆‬Debtor make all future payments to the Trustee in a timely manner. Upon any default, the
                Trustee shall file and serve a Notice of Non-compliance. If no request for a hearing is
                filed within seven (7) days of the Notice of Non-compliance, the case will be dismissed.
                No such request should be filed unless the Trustee’s notice is factually inaccurate.

                         JUNE 20, 2018
          ‫ ܆‬Continued to _____________________________at 2:00
                                                         _______________________a.m./p.m.
                                                                                                    p.m.


                ‫ ܆‬With payments of $ ___________________per _____________________ in the interim;

                ‫ ܆‬Upon payment of $ ____________________by ________________________________;
                                                                         MAY 11, 2018
                ‫ ܆‬Debtor’s counsel is ordered to file a modified plan by ___________________________ ;

                ‫ ܆‬Debtor’s counsel is ordered to file objection(s) to claim(s) by ______________________;

                ‫ ܆‬Upon condition that Debtor(s):




                ‫ ܆‬Debtor’s counsel is ordered to file with the Clerk, within fourteen (14) days, a written
                     certification that all State and Federal tax returns have been filed.

                ‫ ܆‬Upon the failure of the Debtor or Debtor’s counsel to strictly comply with the terms of
                     this order the case may be dismissed without further notice or hearing.


                                               [END OF DOCUMENT]


Submitted by:



Chapter 13 Trustee/Attorney for
Huon Le, Cortney Elam, Jane Miller

 13-01 {Rev. 7/05}
